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                                              THE CITY OF NEW YORK                                      J. KEVIN SHAFFER
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                                                                      April 15, 2020

        BY ECF
        Hon. Valerie E. Caproni
        United States District Judge
        United States District Court
        Southern District of New York
        40 Foley Square, Room 240
        New York, New York 10007

                          Re: Ricardo Dolcine v. Police Officer Richard Hanson, Police Officer Kerin
                              Donahue, Sergeant Tomeka Ruffin, and Jane and John Doe 1 – 10,
                              Docket No. 17 Civ. 4835 (VEC) (JLC)

        Dear Judge Caproni:

                        I am an Assistant Corporation Counsel in the office of James E. Johnson,
        Corporation Counsel of the City of New York, attorney for Defendants in the above-referenced
        action. Pursuant to the Court’s order dated April 13, 2020, I write this joint letter on behalf of all
        parties to inform the Court of the remaining causes of action at issue for Defendants’ prospective
        summary judgment motion, provide the Court with a proposed briefing schedule for the
        aforementioned motion, and indicate whether the parties believe a status conference is necessary
        on Friday, April 17, 2020 at 10:00 am.

                       Plaintiff has stipulated to withdraw, with prejudice, all of Plaintiff’s claims against
        Defendants without costs, expenses, or fees, except Plaintiff’s “Second” Cause of Action for
        “Deprivation of Due Process” against Defendants Hanson and Donahue. See “Stipulation
        Withdrawing Certain Claims and Dismissing Certain Defendants,” dated April 1, 2020, annexed
        hereto as Exhibit “A.” Plaintiff is also dismissing all claims against Defendants Ruffin and Jane
        and John Does 1-10. Id. Accordingly, Defendants will move for summary judgment on Plaintiff’s
        sole remaining cause of action for “Deprivation of Due Process.” The parties propose the
        following briefing schedule:

                          •   Defendants to file motion for summary judgment by: June 12, 2020
                          •   Plaintiff to file opposition by: July 13, 2020
                          •   Defendants to file reply (if any) by: July 27, 2020
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                With regard to the scheduled telephonic status conference scheduled for Friday,
April 17, 2020 at 10:00 am, in light of the above proposed briefing schedule, the parties do not
believe that a telephonic status conference is necessary.

                Accordingly, the parties jointly and respectfully request that the Court so-order the
attached stipulation to withdraw with prejudice all of Plaintiff’s claims against Defendants without
costs, expenses, or fees, except Plaintiff’s “Second” Cause of Action for “Deprivation of Due
Process” against Defendants Hanson and Donahue, and adopt the aforementioned briefing
schedule for Defendants’ anticipated motion for summary judgment.

                                                              Respectfully submitted,
                                                              /s/ J. Kevin Shaffer
                                                              J. Kevin Shaffer
                                                              Assistant Corporation Counsel

Encl.

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